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   1     CENTER FOR DISABILITY ACCESS
         Ray Ballister Jr., Esq., SBN 111282
   2     Russell Handy, Esq., SBN 195058
         Dennis Price, Esq., SBN 279082
   3     Isabel Rose Masanque, Esq., SBN 292673
         8033 Linda Vista Road, Suite 200
   4     San Diego, CA 92111
         (858) 375-7385; (888) 422-5191 fax
   5     IsabelM@potterhandy.com
   6     Attorneys for Plaintiff
   7
   8
                                  UNITED STATES DISTRICT COURT
   9
                                 CENTRAL DISTRICT OF CALIFORNIA
  10
  11
         Orlando Garcia,                               Case: 2:20-CV-02475-JFW-MAA
  12
                    Plaintiff,
  13                                                   Plaintiff’s Notice of Motion and
  14        v.                                         Motion for Summary Judgment
  15
         Joy SM, Inc, a California                      Date: February 22, 2021
  16     Corporation; and Does 1-10,                    Time: 1:30 p.m.
  17                                                    Ctrm: 7A
                    Defendants.
  18
  19
                                                        Hon. Judge John F. Walter
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                 To all Parties and their attorneys of record:
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                 Please take notice that on February 22, 2021 at 1:30 p.m. or as soon
  25
       thereafter as the matter may be heard in the courtroom of the Honorable Judge
  26
       John F. Walter, located at 350 W. 1st Street, Courtroom 7A, Los Angeles,
  27
       California, Plaintiff Orlando Garcia will and hereby does move this Court to
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       Notice and Motion                              Case: 2:20-CV-02475-JFW-MAA
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   1   enter summary judgment in favor of Plaintiff and against Defendant Joy SM,
   2   Inc (‘Defendant’).
   3         Plaintiff seeks: 1) an Order from the Court requiring Defendant to
   4   provide and maintain accessible dining tables at the Tom N Toms located at or
   5   about 440 S. Vermont Avenue, Los Angeles, California; and 2) judgment in
   6   favor of Plaintiff and against Defendant in the amount of $4,000.
   7         This motion is made on the grounds that there is no genuine dispute as
   8   to any material fact and the Plaintiff is entitled to judgment as a matter of law.
   9   Plaintiff’s motion is brought pursuant to Rule 56 of the Federal Rules of Civil
  10   Procedure and is supported by this Notice of and Motion, the Memorandum of
  11   Points and Authorities, the separate statement of undisputed material facts
  12   filed concurrently herewith, the record and files herein, and such other
  13   evidence as may be admitted at the time of the hearing of the motion.
  14         This motion is made following the conference of counsel pursuant to
  15   L.R. 7-3 which took place on January 14, 2021. As outlined in the Declaration
  16   of Masanque at Docket No. 33, Plaintiff’s counsel was unable to obtain the
  17   cooperation of defense counsel in preparing and submitting the Joint
  18   Statement as required by this court’s standing order.
  19
  20
  21   Dated: January 25, 2021           CENTER FOR DISABILITY ACCESS

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  23
                                         By: /s/ Isabel Rose Masanque
  24
                                                Isabel Rose Masanque
  25                                            Attorneys for Plaintiff
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       Notice and Motion                           Case: 2:20-CV-02475-JFW-MAA
